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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


In re: Equifax, Inc. Customer         MDL Docket No. 2800
Data Security Breach Litigation       No. 1:17-md-2800-TWT

                                       This document relates to:

                                       SMALL BUSINESS CASES



  MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS
  CONSOLIDATED SMALL BUSINESS CLASS ACTION COMPLAINT
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                                INTRODUCTION
      The ten small business plaintiffs (“Business Plaintiffs”) do not contend that

any of their own confidential business information was compromised in the 2017

criminal cyber-attack on Equifax’s systems. Rather, in trying out a new legal

theory that has never been advanced—much less accepted—in data breach

litigation, the Business Plaintiffs assert claims based on the theft of their owners’

personally identifying information (“PII”). The crux of the Business Plaintiffs’

Complaint is that their owners’ PII was compromised in the Equifax data breach,

and that the Business Plaintiffs could be harmed because they rely on the

creditworthiness of their owners to obtain business credit.

      This unprecedented theory of liability fails. The Business Plaintiffs’ claims

are all premised on Equifax’s alleged wrongful conduct with respect to their

owners. But the Business Plaintiffs’ owners are not parties to this lawsuit; as

natural persons, the owners’ claims are being prosecuted in the Consolidated

Consumer Class Action Complaint (“Consumer Complaint”).               Nor may the

Business Plaintiffs commandeer their owners’ claims here. A plaintiff may not sue

for an alleged wrong done to someone else.

      This fundamental defect ripples through the Business Plaintiffs’ Complaint,

providing five bases for dismissal.
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      First, the Complaint is devoid of plausible factual allegations necessary to

support Article III standing. The Business Plaintiffs do not allege any cognizable

injuries or facts about how their “injuries” are traceable to Equifax’s conduct.

      The Complaint does not allege that the Business Plaintiffs’ data was

compromised in the breach. Rather, the Business Plaintiffs allege that they were

harmed in two ways: (1) by compromising their owners’ PII, and allegedly placing

their owners at an increased risk of fraud or identity theft, the breach supposedly

“jeopardized . . . the creditworthiness and continued operations” of the Business

Plaintiffs; and (2) they incurred voluntary costs “in the form of a business credit

report and devotion of resources to monitoring [their] financial accounts” based on

the “risk” that their owners’ credit will be negatively affected by the breach. These

supposed injuries are far too speculative and attenuated to support standing. None

of the Business Plaintiffs alleges that their owners’ credit has actually been

negatively impacted as a result of the data breach. Nor do any of the Business

Plaintiffs allege that their business creditworthiness and continued operations have

actually suffered because of the data breach.

      Under well-established Supreme Court precedent, the speculative harms the

Business Plaintiffs have pled are not cognizable Article III injuries. Regardless,

the Complaint does not allege any specific “costs” any Business Plaintiff has

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(allegedly) had to incur. The Business Plaintiffs, in short, fail to plead any Article

III injury-in-fact.

       Nor have the Business Plaintiffs adequately alleged that their supposed

injuries are fairly traceable to the data breach.         Data breaches today are

unfortunately commonplace—there were more than 1,500 breaches in 2017

alone—and no Business Plaintiff pleads that their owners’ PII was not stolen in

any prior breach. It is, therefore, entirely speculative for any Business Plaintiff to

claim any specific risk of future harm based on the Equifax data breach, as

opposed to another breach or fraudulent act. Further, even if the costs the Business

Plaintiffs allegedly incurred to mitigate a speculative risk of future harm were

legally cognizable injuries (and they are not), their claims would still fail because

the criminal acts by unknown third-party hackers broke any causal connection

between Equifax’s alleged conduct and the purported harms.

       Because the Business Plaintiffs fail to plead sufficient facts to support

Article III’s requirements for standing, the Court should dismiss the Complaint for

lack of jurisdiction.

       Second, the Business Plaintiffs’ negligence claim should be dismissed. In

light of the Georgia Court of Appeals’ recent decision in McConnell v. Georgia

Department of Labor, 814 S.E.2d 790 (Ga. Ct. App. 2018) (“McConnell III”),

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Equifax clearly did not owe the Business Plaintiffs a duty to safeguard PII of the

Consumer Plaintiffs. The Business Plaintiffs’ negligence claim is thus doomed.

      Moreover, the Business Plaintiffs have not alleged any legally cognizable

harm—they claim only a generalized risk of highly speculative future harms, and

costs purportedly incurred to mitigate that risk. And in any event, the Business

Plaintiffs concede that all of their alleged harms are remote “consequences flowing

from the unauthorized dissemination of their owner’s Personal Information.”

Compl. ¶ 5 (emphasis added). As a matter of law, those alleged down-stream

injuries are too remote and attenuated to show proximate causation or state a claim

for negligence.   Regardless, Georgia’s economic loss rule bars the Business

Plaintiffs’ negligence claim because they seek only economic damages, not

damages for any injury to person or property.

      Third, the Business Plaintiffs’ attempt to shoehorn their claims into the FTC

Act and unspecified “similar state statutes” to establish “negligence per se” also

fails. The FTC Act does not set out any specific statutory duty to protect PII or to

notify small businesses of a data breach involving their owners’ PII, and the

Business Plaintiffs’ vague reference to “similar state statutes” does not impose any

duty on Equifax. Nor have the Business Plaintiffs met their burden of pleading

facts sufficient to demonstrate the other basic elements of a negligence per se

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claim including causation and injury. For these reasons, the Court should dismiss

the negligence per se claim.

      Fourth, the Business Plaintiffs’ claim under the Georgia Fair Business

Practices Act (“GFBPA”) fails because the GFBPA does not impose a duty to

safeguard third-parties’ PII. Even if the statute did apply (and it does not), the

Business Plaintiffs’ pleadings are defective. For example, the Business Plaintiffs

fail to adequately plead that they relied on any misrepresentation Equifax

supposedly made and suffered damages as a proximate result of any such reliance.

      Fifth, the Business Plaintiffs’ unjust enrichment claim lacks merit. To state

such a claim, the Business Plaintiffs would have to allege that they conferred a

valuable benefit (i.e., their PII) on Equifax and that they reasonably expected to be

repaid. But the Business Plaintiffs expressly allege that they did not give any

compromised information to Equifax.          Nor do they allege that any of their

information was involved in the data breach. The unjust enrichment claim should

be dismissed.

                         THE PARTIES AND CLAIMS
      A.     The Business Plaintiffs
      The Business Plaintiffs are ten “small businesses” existing under the laws of

seven U.S. states: (i) California (Sharps Investment Enterprises, LLC), (ii)


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Delaware (The Mello Group, Inc.), (iii) Florida (Pierce N Tell of Sarasota, LLC),

(iv) Georgia (Forest Express Properties, LLC; St. Luc Holdings (SLH), LLC f/k/a

Just Rev, LLC; Martin’s Auto Repair; and Rafco, LLC), (v) Mississippi (Kademi,

LLC), (vi) Ohio (Champs Sports Bar & Grill Co., d/b/a TJ’s on the Avenue), and

(vii) Texas (Coastal Communications, LLC). Compl. ¶¶ 12-21.

      The Business Plaintiffs generally allege that they “rel[y] in part on credit to

operate,” and that they “rel[y] on the personal credit” of “an individual whose

[p]ersonal [i]nformation was compromised in the Equifax breach”—i.e., their

owners—“to obtain and maintain [their] own credit.” Id. The Business Plaintiffs,

however, do not allege that their owners have suffered identity theft or any

fraudulent account activity as a result of the Equifax data breach, much less that

the breach has harmed their owners’ creditworthiness.

      The Business Plaintiffs allege they have “reasonably incurred costs (in the

form of a business credit report and devotion of resources to monitoring [their]

financial accounts) based on the substantial risk of harm from the breach.”1 Id.

But the Business Plaintiffs fail to provide any specificity as to which “business

1 The Business Plaintiffs’ allegations about the costs they incurred are identical
with one exception. Plaintiff Champs Sports Bar & Grill Co. does not allege that it
obtained a business credit report or monitored its financial accounts. Rather, it
alleges that owner “Craig Pulling spent time and effort on behalf of Plaintiff
Champs Sports Bar & Grill Co. monitoring financial accounts and searching for
fraudulent activity.” Id. ¶ 20.
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credit report(s)” they purchased, from whom the reports were purchased, or why

doing so was necessary or even related to the Equifax data breach. And they fail to

identify what “resources” they allegedly devoted to monitoring their financial

accounts.

      B.    Defendants
      The Business Plaintiffs assert claims against Equifax Inc. (“Equifax Inc.”),

Equifax Information Services LLC (“EIS”), and Equifax Consumer Services LLC

(“ECS”) (together with Equifax Inc. and EIS, “Equifax” or “Defendants”). Compl.

¶¶ 22-29. Defendant Equifax Inc., a Georgia corporation with its principal place of

business in Atlanta, Georgia, is a leading global provider of information, human-

resources, and data-analytics services for businesses, governments, and consumers.

Information stored on Equifax Inc.’s servers was accessed during the 2017 data

breach.

      Defendant EIS, a subsidiary of Equifax Inc., is a Georgia limited liability

company. EIS is a national consumer reporting agency that stores and furnishes

consumer credit reporting data. EIS’s records were not accessed during the data

breach.

      Defendant ECS, a subsidiary of Equifax Inc., is a Georgia limited liability

company that (among other things) offers credit monitoring services to consumers.

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Throughout the Complaint, the Business Plaintiffs make no distinction between

Equifax Inc., EIS, and ECS, making allegations only as to “Equifax.”

      C.     The Business Plaintiffs’ Claims
      The Business Plaintiffs assert five claims on behalf of a putative nationwide

class of all “businesses in the United States that have relied on an owner’s personal

credit to obtain or maintain financing between September 7, 2017 and the present,

which owner’s Personal Information was compromised” as a result of the Equifax

data breach: (i) negligence; (ii) negligence per se; (iii) violation of the GFBPA; (iv)

unjust enrichment; and (v) recovery of litigation expenses pursuant to O.C.G.A. §

13-6-11. See Compl. ¶¶ 226-73.

      All five of these claims are already being prosecuted in the Consumer

Complaint on behalf of a putative nationwide class of Consumer Plaintiffs “whose

Personal Information was compromised as a result of the data breach”—a

definition that includes the Business Plaintiffs’ owners. Consumer Compl., Dkt.

No. 374, ¶ 296; see id. ¶¶ 333-47 (negligence), 348-54 (negligence per se), 355-81

(violation of GFBPA), 382-91 (unjust enrichment), and 1404-06 (litigation

expenses).   Additionally, all of the types of relief requested by the Business

Plaintiffs are subsumed within the broader relief sought by the Consumer




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Plaintiffs. Compare Compl. at Request for Relief, ¶¶ 2-6 with Consumer Compl.,

Dkt. No. 375, at Request for Relief, ¶¶ 2-3, 5, 7, and 9.

                              LEGAL STANDARDS

      A.     Pleading Requirements.
      The Business Plaintiffs’ Complaint must contain allegations to “state a claim

for relief that is plausible—and not merely possible—on its face.” Almanza v.

United Airlines, Inc., 851 F.3d 1060, 1066 (11th Cir. 2017). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). In assessing a complaint under Rule

12(b)(6), the Court accepts as true all factual allegations contained therein, but is

“‘not bound to accept as true a legal conclusion couched as a factual allegation.’”

Id. at 1949–50 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

“Where a Complaint lacks a sufficient factual basis upon which the Court could

infer the existence of an essential element [of a claim], dismissal is appropriate.”

Arch Ins. Co. v. Clements, Purvis & Stewart, P.C., 850 F. Supp. 2d 1371, 1374

(S.D. Ga. 2011), aff'd, 434 F. App'x 826 (11th Cir. 2011).




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      B.     Georgia Law Applies To The Common Law Claims.
      Although the Business Plaintiffs exist under the laws of several States, they

do not identify any foreign state statute that governs their common law claims, and

instead concede that “the common law of Georgia applies to the nationwide

common law claims of all Nationwide Class members.”               Compl. ¶ 225. For

purposes of this Motion to Dismiss, this Court should presume that Georgia

common law governs those claims. See In re Stand ’n Seal, Prods. Liability Litig.,

No. 1:07-MD-1804-TWT, 2009 WL 2998003, at *2 (N.D. Ga. Sept. 15, 2009) (“If

the parties do not identify any foreign statutes in their pleadings, it is presumed that

no foreign statutes are involved.”) (Thrash, J.). 2

                                    ARGUMENT
I.    ALL OF THE BUSINESS PLAINTIFFS LACK ARTICLE III
      STANDING.
      To establish standing under Article III of the U.S. Constitution, each

Business Plaintiff bears the burden of showing that it has “(1) suffered an injury in

fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3)

that is likely to be redressed by a favorable judicial decision.” Spokeo, Inc. v.

2  Equifax only accepts these allegations as true for purposes of this Motion to
Dismiss. The Company respectfully preserves its right to raise the argument that
Georgia law may not apply to the common law claims at later stages in the
litigation, including without limitation the summary judgment, class certification,
and trial stages.
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Robins, 136 S. Ct. 1540, 1547 (2016).          The Business Plaintiffs must present

allegations to support Article III standing that are sufficient to satisfy the Iqbal and

Twombly pleading standards. See, e.g., Griffin v. Coca-Cola Enterprises, Inc., 686

F. App’x 820, 822 (11th Cir. 2017) (affirming dismissal because plaintiff “failed to

allege facts sufficient to establish her standing” under Iqbal).

      The Business Plaintiffs’ allegations fail to establish the elements necessary

for Article III standing. The Business Plaintiffs do not allege that their information

was compromised during the data breach. Instead, they merely allege that their

owners’ Personal Information was compromised. The Business Plaintiffs allege

that because their owners’ Personal Information was compromised, the breach has

“jeopardized” “the creditworthiness and continued operations” of the Business

Plaintiffs and that they have “reasonably incurred costs . . . based on the substantial

risk of harm from the breach.” Compl. ¶¶ 12-21 (emphasis added). But the chain

of events that would have to occur—from the compromise of their owners’ PII to

any harm to the Business Plaintiffs’ creditworthiness or continued operations—is

too attenuated to support Article III standing. Moreover, the Business Plaintiffs

make no attempt to allege any facts specific to each Plaintiff explaining how the

compromise of its owner’s PII will negatively affect its creditworthiness or

continued operations. No putative class action—data breach or otherwise—can

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proceed on the basis of such generic allegations. See, e.g., Oliver v. SD-3C LLC,

No. C 11-01260 JSW, 2015 WL 10890656, at *6 (N.D. Cal. Sept. 30, 2015)

(dismissing claims where plaintiffs relied on “catch-all allegation[s]”).         Each

Business Plaintiff must allege facts to support its individual claim. In re Apple

iPhone Antitrust Litig., 11-CV-06714-YGR, 2013 WL 4425720, at *6 (N.D. Cal.

Aug. 15, 2013) (“Plaintiffs do not satisfy Article III standing with collective

allegations . . . [a]t a minimum, Plaintiffs must allege facts showing that each

named Plaintiff has personally suffered an injury-in-fact.”).

      A.     The Business Plaintiffs Do Not Plead Sufficient Plausible Factual
             Allegations Demonstrating A Cognizable Injury-In-Fact.
      No Business Plaintiff has alleged plausible facts sufficient to demonstrate an

injury-in-fact. To establish an injury-in-fact, a plaintiff must show that its injury is

“concrete and particularized and actual or imminent, not conjectural or

hypothetical.” Spokeo, 136 S. Ct. at 1547 (quotation marks omitted). “Although

‘imminence’ is concededly a somewhat elastic concept, it cannot be stretched

beyond its purpose, which is to ensure that the alleged injury is not too speculative

for Article III purposes.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 564‒65 n.2

(1992). The Supreme Court has “repeatedly reiterated that threatened injury must

be certainly impending to constitute injury in fact, and that allegations of possible

future injury are not sufficient.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409
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(2013) (alteration and quotations omitted). These requirements for alleging an

injury-in-fact apply equally in the class-action context. See Spokeo, 136 S. Ct. at

1547 n.6.

      The Business Plaintiffs’ alleged injuries fall into two categories: (1) the

“increased risk” of speculative future harm to their creditworthiness and continued

operations, and (2) voluntary costs to mitigate that alleged risk of future harm. 3

But to establish any actual harm from that purported risk, the Business Plaintiffs

would have to plead, and ultimately prove, the following chain of events:

            • The owner’s PII was compromised in the Equifax data breach;

            • The owner’s PII was obtained by some criminals as a result of the

               Equifax data breach and then misused by those criminals;

            • The owner’s credit was directly impacted by the criminals’ misuse of

               his or her PII (as opposed to any other factor among a multitude of

               factors that can affect a consumer’s credit);

            • The Business Plaintiff thereafter attempted to rely on the owner’s

               credit for its own “creditworthiness and continued operations”; and



3Plaintiff Champs Sports Bar & Grill Co., however, has failed even to allege that it
voluntarily incurred costs to mitigate the alleged risk. It only alleges that its owner
“spent time and effort” on behalf of the Plaintiff “monitoring financial accounts
and searching for fraudulent activity.” Compl. ¶ 20.
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          • The Business Plaintiff’s “creditworthiness [or] continued operations”

             were harmed—e.g., a denied loan application or increased interest

             rate—as a direct result of the owner’s damaged credit (as opposed to

             any other element taken into consideration for the extension of

             business credit).

This fanciful chain of events reveals the hypothetical and conjectural nature of the

Business Plaintiffs’ alleged harm. Although the Business Plaintiffs would have to

plead all of these facts to come close to pleading an injury, they fail to do so. The

Business Plaintiffs’ factual allegations stop at the first event in this chain: that their

individual owners’ PII was compromised. They do not allege that any of the

subsequent events have occurred; nor do they address the numerous intervening

factors that would break the chain at each step. For instance, if a fraudulent

transaction is timely detected and addressed, it likely would not affect an

individual’s credit score. And even if an individual owner’s credit score were

reduced, his or her business’s access to credit might not be affected, depending on

many other factors, including the business’s own credit score, the credit scores of

its other owners, and the forms of credit it uses.            The Business Plaintiffs’

allegations do not address these issues or otherwise support their speculative

claims of harm.

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      The Business Plaintiffs’ alleged “harm” of increased risk to their

“creditworthiness and continued operations” is therefore plainly insufficient. In

the data breach context, numerous courts in cases where the plaintiffs’ own PII was

impacted have held that a risk of future harm is “too speculative to constitute an

injury-in-fact.” Beck v. McDonald, 848 F.3d 262, 274 (4th Cir. 2017); see Reilly

v. Ceridian Corp., 664 F.3d 38, 40, 44 (3d Cir. 2011) (plaintiff-employees’

increased-risk-of-identity-theft theory too hypothetical and speculative to establish

“certainly impending” injury-in-fact after unknown hacker penetrated payroll

system).   Here, the Business Plaintiffs’ business information was not even

compromised in the data breach, and the chain of events—from the compromise of

their owners’ PII to any harm to the Business Plaintiffs—is far too attenuated to

support standing.

      The Business Plaintiffs also allege that they incurred costs “in the form of a

business credit report and devotion of resources to monitoring [their] financial

accounts.” Compl. ¶¶ 12-21. But they do not allege that they were required to

obtain business credit reports or to devote resources to monitoring their financial

accounts. See id. (failing to specify how they were required to obtain “a business

credit report and devot[e] . . . resources to monitoring [their] financial accounts”).

Rather, they allege that “[f]inancial advisors, experts, and even the media are

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advising such [small] businesses to procure . . . credit protection products.” Id. ¶ 6.

The Business Plaintiffs “cannot manufacture standing merely by inflicting harm on

themselves based on their fears of hypothetical future harm.” Clapper, 133 S. Ct.

at 1151. “If the law were otherwise, an enterprising plaintiff would be able to

secure a lower standard for Article III standing simply by making an expenditure

based on a nonparanoid fear.” Id.

      Numerous courts have applied this rule in the data breach context,

concluding that mitigation efforts following a data breach do not confer standing.

See, e.g., In re SuperValu, Inc., 870 F.3d 763, 771 (8th Cir. 2017) (rejecting

argument that “costs . . . incurred to mitigate . . . risk of identity theft, including

time [plaintiffs] spent reviewing information about the breach and monitoring their

account information, constitute[d] an injury in fact for purposes of standing”);

Beck, 848 F.3d at 276‒77 (holding that “self-imposed harms cannot confer

standing”); Reilly, 664 F.3d at 46 (concluding that “alleged time and money

expenditures to monitor . . . financial information do not establish standing,

because costs incurred to watch for a speculative chain of future events based on

hypothetical future criminal acts are no more ‘actual’ injuries than the alleged




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‘increased risk of injury’”); Torres v. Wendy’s Co., 195 F. Supp. 3d 1278, 1284

(M.D. Fla. 2016) (same). The Court should apply the same rule here.4

      Because none of the Business Plaintiffs have alleged a cognizable injury-in-

fact, the Court should dismiss this case for lack of jurisdiction.

      B.     The Business Plaintiffs Do Not Allege Sufficient Plausible Factual
             Allegations Demonstrating Traceability.
      Even if the Business Plaintiffs had alleged a sufficient injury-in-fact—and

they have not—the “demonstration of [that] injury is necessary to prove standing,

[but] it alone is not sufficient.” Fla. Ass’n of Med. Equip. Dealers, Med-Health

Care v. Apfel, 194 F.3d 1227, 1230 (11th Cir. 1999). The traceability element of

Article III standing requires “a causal connection between the injury and the

conduct complained of—the injury has to be fairly traceable to the challenged

action of the defendant, and not the result of the independent action of some third

party not before the court.” Lujan, 504 U.S. at 560. Furthermore, the “causal


4 Some courts have held that plaintiffs have standing where the plaintiff has
sufficiently pled facts demonstrating that the risk of harm is imminent. See, e.g.,
Resnick v. AvMed, Inc., 693 F.3d 1317, 1326 (11th Cir. 2012) (finding standing
where there were factual allegations that identity theft had occurred); Krottner v.
Starbucks Corp., 628 F.3d 1139 (9th Cir. 2010) (finding standing where allegations
included that a thief stole a laptop computer containing the unencrypted names,
addresses and Social Security numbers of approximately 97,000 employees, and at
least one plaintiff alleged that the information had been used to open an account).
There are no such allegations here, and regardless, the Business Plaintiffs’ theory
of harm is too attenuated to support standing.
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connection cannot be too attenuated.” Wooden v. Bd. of Regents of Univ. Sys. of

Ga., 247 F.3d 1262, 1274 (11th Cir. 2001). To meet the traceability requirement,

the Business Plaintiffs must allege facts demonstrating “that the injury is indeed

fairly traceable to the defendant’s acts or omissions.” Vill. of Arlington Heights v.

Metro. Hous. Dev. Corp., 429 U.S. 252, 261 (1977).

        The Eleventh Circuit’s decision in Florida Association of Medical

Equipment Dealers, Med-Health Care v. Apfel, 194 F.3d 1227, demonstrates the

insufficiency of the Business Plaintiffs’ speculative allegations.      In that case,

medical equipment suppliers and an association of medical equipment suppliers

challenged a medical-supply bidding process that a federal agency had initiated on

the ground that the agency had failed to comply with a federal statute designed to

ensure public access and participation. Id. at 1229. The district court denied the

plaintiffs’ petition for a preliminary injunction “on the basis that [the plaintiffs]

had not pointed to any injury traceable to the alleged [statutory] violation which

could be redressed by the requested injunctive relief.” Id. The Eleventh Circuit

affirmed, agreeing with “the district court that [the plaintiffs’] allegations of harm

or injury are much too attenuated to meet the requirements for standing.” Id. at

1230.    The plaintiffs’ argument, the Court explained, “seem[ed] to be that: if

[plaintiffs] were to bid, [plaintiffs] could be forced to participate in a ‘tainted’

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bidding project, which might prove unsuccessful, and potentially threaten the

livelihood of [their] membership should their bids be rejected.” Id. (emphasis in

original).   In the court’s view, it was “unclear how this chain of events—as

opposed to myriad other possible causes—would have contributed to the possible

loss by [plaintiffs’] membership of any prospective bid, assuming one was

submitted by all the plaintiffs in the first place.” Id. at 1230‒31.

      The Business Plaintiffs’ allegations rely on similar speculation and are more

“attenuated” than the plaintiffs’ allegations in Apfel. As in Apfel, it is “unclear”

how any action or inaction by Equifax—as opposed to, say, the third-party hackers

or even other data breaches that the Business Plaintiffs admit are prevalent—

would have led to the Business Plaintiffs’ voluntary expenditures or future harm to

its credit or continued operations. See, e.g., Compl. ¶¶ 68–74 (describing other

major data breaches). Thus, the causal connection from the data breach to the

alleged harm to the Business Plaintiffs is too attenuated to establish traceability.

See Wooden, 247 F.3d at 1274. All of the harms arise out of the loss of their

owners’ PII, the possibilities that the loss of that PII could lead to identity theft and

result in harm to their owners’ creditworthiness, and the possibility that other

entities providing commercial credit will behave in a certain way if the owners’

creditworthiness is adversely affected.

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       Other courts, too, have refused to recognize claims based on such

unsupported and attenuated suggestions of causation in the data breach context.

For example, in Hammond v. Bank of New York Mellon Corp., No. 08 CIV. 6060

RMB RLE, 2010 WL 2643307, at *13 (S.D.N.Y. June 25, 2010), the court found

that the plaintiffs failed to allege sufficiently any fraud that was causally connected

to the loss of the data tapes at issue in the case. And, in data theft cases where

courts have found standing, plaintiffs had more than speculation upon which to

base their claims. See, e.g., Lambert v. Hartman, 517 F.3d 433, 437‒438 (6th Cir.

2008) (holding that the plaintiff had satisfied standing requirements where she

“was able to link the act of identity theft to the personal information that was

[improperly] made available”). The Business Plaintiffs do not allege any facts in

the Complaint that would come close to proving this sort of connection between

Equifax’s alleged conduct and their alleged injuries.

       The Business Plaintiffs’ claims should therefore be dismissed for lack of

jurisdiction.

II.    THE BUSINESS PLAINTIFFS’ NEGLIGENCE CLAIM FAILS.
       Even if this Court were to determine it had jurisdiction to consider this case

(which it does not), the Business Plaintiffs do not sufficiently allege facts

supporting a claim upon which relief can be granted. To support a negligence

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claim under Georgia law, a plaintiff must prove “the existence of a duty on the part

of the defendant, a breach of such duty, causation of the injury alleged, and

damages as a result of the alleged breach of duty.” Wells Fargo Bank, N.A. v.

Jenkins, 744 S.E.2d 686, 687 (Ga. 2013).          The Business Plaintiffs fail to

sufficiently plead these necessary elements.

      First, the Business Plaintiffs’ negligence claim fails because Georgia law

does not recognize any duty to safeguard an individual’s PII. And because the

Business Plaintiffs’ owners—i.e., the Consumer Plaintiffs—cannot even show that

Equifax had a duty under Georgia law to protect their PII from unauthorized access

(see Dkt. No. 425 at 24-32), it is axiomatic that the Business Plaintiffs cannot show

Equifax owed them a duty to protect the PII of their owners.

      Second, the Business Plaintiffs fail to allege that they suffered any

damages—i.e., legally cognizable harms—as a result of Equifax’s purported

breach of duty.

      Third, the Business Plaintiffs fail to put forth allegations that would permit

the Court to find that Equifax’s purported breach of duty was the proximate cause

of any cognizable harm.

      Fourth, the Business Plaintiffs’ negligence claim is barred by Georgia’s

economic loss rule.

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      A.     The Business Plaintiffs Have Not Alleged Any Duty Equifax Owed
             To Them.
      “The threshold issue in any cause of action for negligence is whether, and to

what extent, the defendant owes the plaintiff a duty of care.” Access Mgmt. Grp.

L.P. v. Hanham, 812 S.E.2d 509, 511 (Ga. Ct. App. 2018) (internal citation

omitted). The question whether a duty exists is a question of law. Id.

      The Business Plaintiffs fail to plead a duty to support their negligence claim

because (i) Georgia law does not recognize a duty to safeguard an individual’s PII;

(ii) even if such a duty did exist, it did not extend to the Business Plaintiffs because

the stolen PII did not belong to them; and (iii) the Business Plaintiffs fail to allege

any other source of a duty owed to them by Equifax.

      1.     Georgia Law Does Not Recognize Any Duty Owed To The Business
             Plaintiffs To Safeguard The PII Of Their Owners.
             a.     Georgia Law Does Not Recognize A General Duty to Safeguard
                    PII.

      As explained in Equifax’s motions to dismiss the Consumer Complaint (see

Dkt. No. 425 at 24-32) and Financial Institutions Complaint (see Dkt. No. 435 at

28-31), the Georgia Court of Appeals’ recent decision in McConnell III confirms

that Georgia does not recognize any “duty of care to safeguard personal

information.” McConnell III, 814 S.E.2d at 799. In McConnell III, the court

explained that a plaintiff asserting a negligence claim must first prove “the

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existence of a duty on the part of the defendant,” and that the duty must arise

“either from a valid legislative enactment . . . or be imposed by a common law

principle recognized in the caselaw.” Id. at 797. The McConnell III court then

expressly held that a duty to safeguard personal information “has no source in

Georgia statutory law or caselaw.”       Id. at 799.   Accordingly, McConnell III

forecloses the existence of any duty under Georgia law upon which the Business

Plaintiffs can base their negligence claim.

      McConnell III is fully in line with the Georgia Supreme Court’s earlier

decision on the question of duty in Jenkins, which rejected the plaintiff’s argument

that Georgia law imposes a duty to protect an individual’s PII. 744 S.E.2d at 687-

88. The court in Jenkins concluded that the federal Gramm-Leach-Bliley Act’s

“aspirational statement of Congressional policy” was not sufficient to impose a

duty, “the alleged breach of which would give rise . . . to a cause of action for

negligence,” to guard against unauthorized access to confidential information. Id.

Significantly, the Jenkins court refused to create this new duty—indicating that

none exists at Georgia common law—and cautioned against “usurp[ing] legislative




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authority by inferring or supplying” a duty not found in statutory or existing case

law. 5 Id.

      Because Georgia law does not recognize a duty to safeguard an individual’s

PII, the Business Plaintiffs cannot establish a duty upon which to base their

negligence claim.

             b.     The Business Plaintiffs Invite The Court To Create A Duty Even
                    Broader Than The Duty Rejected In McConnell III.

      The Business Plaintiffs propose a duty even broader than the duty expressly

rejected by Georgia Court of Appeals in McConnell III—i.e., that “Equifax owed a

duty to the Business Plaintiffs” to safeguard the PII of their owners. Compl. ¶ 227.

In McConnell III the court found there was no duty to safeguard PII where the

defendant had disseminated the plaintiffs’ own names, Social Security numbers,

ages, phone numbers, and email addresses to over 1,000 different third-parties.

Here, the Business Plaintiffs ask the Court to hold that Equifax owed them a duty

5 As a federal Court sitting in diversity, this Court should “decide the case the way
it appears the [Georgia] Supreme Court would decide it,” and “[i]n the absence of
any [Georgia] Supreme Court decisions close enough on point,” the Court should
“look to decisions of the [Georgia] intermediate appellate courts and follow them
unless there is some really persuasive indication that the [Georgia] Supreme Court
would go the other way.” KMS Rest. Corp. v. Wendy’s Int’l, Inc., 361 F.3d 1321,
1325 (11th Cir. 2004) (emphasis added). Here, there are no contrary Georgia
Supreme Court decisions on point—indeed, the Supreme Court’s ruling in Jenkins
is in line with McConnell III—and there is no indication that the Georgia Supreme
Court would have ruled differently than the Georgia Court of Appeals in
McConnell III.
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to safeguard third-parties’ PII, a duty that would go far beyond what any court has

ever recognized in Georgia or elsewhere.

      Even if McConnell III had come out the other way, the Business Plaintiffs’

negligence claim would still fail because they could not allege that Equifax was

negligent as to them. See Queen v. Craven, 97 S.E.2d 523, 527 (Ga. Ct. App.

1957) (“A negligent act is not actionable unless negligent as to the plaintiff.”).

Although the Business Plaintiffs allege Equifax owed them a duty because they

“were the foreseeable and probable victims of any inadequate security practices”

(Compl. ¶ 229), Georgia law prohibits the “expan[sion of] traditional tort concepts

beyond manageable bounds” when doing so would “create an almost infinite

universe of potential plaintiffs.” CSX Transp., Inc. v. Williams, 608 S.E.2d 208,

209 (Ga. 2005) (rejecting argument that employer owed duty to a third-party non-

employee who came into contact with its employee’s asbestos-tainted work

clothing away from the workplace).

      Recognizing a duty owed to the Business Plaintiffs to safeguard personal

information of third-parties would be “not only unwarranted as a matter of law but

unworkable as a matter of fact and practicality.” Rasnick v. Krishna Hosp., Inc.,

713 S.E.2d 835, 839 (Ga. 2011). There could be no logical limitation on who

could bring claims for downstream harms tenuously related to the unauthorized

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disclosure of some third-party’s information. Therefore, the Business Plaintiffs’

suggestion that Equifax owed them a duty to protect third-parties’ personal

information fails under Georgia law, under which “the notion of legal duty must be

tailored so that the consequences of wrongs are limited to a controllable degree.”

Id. at 839; see also Albany Urology Clinic, P.C. v. Cleveland, 528 S.E.2d 777, 780

(Ga. 2000) (reversing the Georgia Court of Appeals’ “impos[ition] upon healthcare

providers [of] a new, judicially-created[] duty” because creating such a duty was

“beyond the scope of the . . . court’s authority”).

      Because the Business Plaintiffs cannot establish any relevant duty owed to

them by Equifax, their negligence claim should be dismissed.

      2.     The Business Plaintiffs Fail To Allege Any Other Relevant Duty
             Equifax Owed To Them.
      The Business Plaintiffs also try to fabricate a duty to support their

negligence claim by alleging (i) that Equifax voluntarily undertook a duty (Compl.

¶¶ 231-32); (ii) that Equifax contractually requires its business partners to

safeguard personal information (id. ¶¶ 234-35); and (iii) that the FCRA and/or FTC

Act imposed a duty on Equifax (id. ¶¶ 230, 233). None of these allegations

establishes a duty owed to the Business Plaintiffs.

      First, under Georgia law, Section 324A of the Restatement (Second) of

Torts governs voluntarily undertaken duties, Pate v. Oakwood Mobile Homes, Inc.,
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374 F.3d 1081, 1086 (11th Cir. 2004), and any such duty extends only to

preventing “physical harm” to another’s person or property, Restatement (Second)

of Torts §§ 323, 324 (1965). See also Huggins v. Aetna Cas. & Sur. Co., 264

S.E.2d 191, 192 (Ga. 1980) (adopting “majority rule” of Restatement § 324A).

Here, the only harms the Business Plaintiffs allege are a speculative future risk of

harm and costs they voluntarily incurred “in the form of a business credit report

and devotion of resources to monitoring [their] financial accounts” (see Compl. ¶¶

12-21)—they do not allege any physical injury to themselves or their property.

Accordingly, the Business Plaintiffs’ allegations fail to establish any legal duty

voluntarily undertaken by Equifax. See Willingham v. Global Payments, Inc., No.

1:12-cv-01157-RWS, 2013 WL 440702, at *18 (N.D. Ga. Feb. 5, 2013) (“Plaintiffs

do not allege that they have suffered physical harm; therefore, they cannot state a

negligence claim based on the voluntary undertaking doctrine.”).

      Second, that Equifax may contractually require its business partners to

employ certain cybersecurity practices has no relevance to whether Equifax owed

any common law or statutory duty to the Business Plaintiffs. Indeed, the Business

Plaintiffs do not allege that they were parties to such contracts with Equifax or that

Equifax was otherwise contractually required to safeguard the PII of their owners.



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      Third, the Business Plaintiffs’ suggestion that Equifax owed them a duty for

negligence purposes that arose out of two statutes, the FCRA and FTC Act,

amounts to a claim for negligence per se. See, e.g., Norman v. Jones Lang Lasalle

Ams., Inc., 627 S.E.2d 382, 388 (Ga. Ct. App. 2006) (“negligence per se arises

when a statute or ordinance is violated”). As explained in Section III, those

statutes cannot provide the basis for a negligence per se claim against Equifax.

Finally, the Business Plaintiffs’ stray allegation that “Equifax also had a duty to

safeguard the Personal Information of Business Plaintiffs . . . and to promptly

notify them of a breach because of various state laws and statutes” (Compl. ¶ 236)

is plainly insufficient. The Business Plaintiffs do not cite any actual “state laws”

or “statutes” that would require Equifax to safeguard information, or to notify the

Business Plaintiffs in the event of a data breach. Vague references to unspecified

laws cannot establish a duty. See Spooner v. City of Camilla, 568 S.E.2d 109, 113

(Ga. Ct. App. 2002) (affirming dismissal of negligence per se claim where

plaintiffs “cite[d] no specific statute, rule, or regulation that imposes a duty”);

Quinn v. City of Cave Spring, 532 S.E.2d 131, 133–34 (Ga. Ct. App. 2000) (same).

      B.    The Business Plaintiffs Have Not Alleged Any Cognizable Harms
            To Support Their Negligence Claim.
      The Business Plaintiffs have also failed to allege any legally cognizable

harms they suffered as a result of the data breach. “Since ‘a tort claim must fail
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where liability is established but no damages can be shown,’ it follows that

negligence claims must fail where no recoverable damages have even been pled.”

Heinisch v. Bernardini, CV414-221, 2014 WL 5872698, at *2 (S.D. Ga. Nov. 12,

2014) (quoting Blackford v. Wal–Mart Stores, Inc., 912 F.Supp. 537, 539 (S.D. Ga.

1996)). “Proof of negligence in the air, so to speak, will not do.” Kaminer v.

Canas, 653 S.E.2d 691, 695 (Ga. 2007) (quotation marks omitted).

      Despite filing a 120-page complaint, the only “harms” the Business

Plaintiffs allege they have incurred are generic, collective allegations of (i) a highly

speculative “risk” that their owners’ PII will be fraudulently used in a manner that

negatively impacts the owners’ credit, and that the Business Plaintiffs’ credit in

turn will be negatively impacted; and (ii) “increased costs” “in the form of a

business credit report and devotion of resources to monitoring [their] financial

accounts” that the Business Plaintiffs voluntarily incurred to mitigate a “risk of

harm.” Compl. ¶¶ 12-21. Neither of these alleged categories of harm constitutes a

legally cognizable harm sufficient to support a negligence claim.

      1.     An “Increased Risk” Of Speculative Future Harms Is Insufficient.
      The Business Plaintiffs allege that the data breach impacted the PII of

individuals upon whose creditworthiness they rely for business credit, and thus

exposed them to “present, immediate, imminent, and continuing increased risk of

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harm.” Compl. ¶ 11. For example, Business Plaintiffs allege that “[t]he breach has

jeopardized [small] businesses’ access to credit and the price they pay for credit,

and thus also their operations, collateral, and viability.”      Id. ¶ 194.       But no

Business Plaintiff has alleged that the data breach has actually impaired its access

to credit (or how), increased the price it pays for credit, or otherwise negatively

impacted its operations. Thus, these allegations—even accepted as true—amount

to nothing more than an increased risk of highly speculative future harms.

      Under Georgia law “[i]f the damage incurred by the plaintiff is only the

imaginary or possible result of a tortious act . . ., such damage is too remote to be

the basis of recovery against the wrongdoer.” O.C.G.A. § 51-12-8. “[N]o Georgia

court has adopted a theory of liability premised on the mere ‘increased risk’ of

suffering from a future . . . injury.” Parker v. Brush Wellman, Inc., 377 F. Supp.

2d 1290, 1299 (N.D. Ga. 2005), aff’d sub nom. Parker v. Wellman, 230 F. App’x

878 (11th Cir. 2007); Paws Holdings, LLC v. Daikin Indus., Ltd., No. CV 116-058,

2017 WL 706624, at *13 (S.D. Ga. Feb. 22, 2017) (“[T]o the extent that Plaintiff

claims that it has suffered an increased risk of injury, such increased risks of injury

are insufficient to state an ‘injury’ recoverable in tort under Georgia law.”).

      Applying Georgia law to a negligence claim arising from a data breach, the

Georgia Court of Appeals recently held “that the fact of compromised data is not a

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compensable injury by itself in the absence of some ‘loss or damage flowing to the

plaintiff’s legally protected interest.’” Collins v. Athens Orthopedic Clinic, ---

S.E.2d ---, 2018 WL 3134877, at *3 (Ga. Ct. App. July 16, 2018) (quoting

Whitehead v. Cuffie, 364 S.E.2d 87 (Ga. Ct. App. 1987)).6 The Collins court drew

upon a well-established line of Georgia tort cases finding that a mere increased risk

of future harm is insufficient to sustain a negligence claim. It therefore affirmed

the dismissal of a putative class action filed on behalf of approximately 200,000

patients against a medical clinic that lost their PII in a data breach. Id. at *7.

      Here, too, Business Plaintiffs’ allegations of a “fear of future damages [are]

too speculative to form the basis for recovery.” Id. at *2 (quotation omitted).

      2.     Expenses Incurred To Mitigate A Risk Of Future Harms Are
             Insufficient.
      Like their allegations that they face a risk of speculative future harms, the

Business Plaintiffs’ allegations that they have incurred “increased costs” to protect

against those speculative future harms do not constitute legally cognizable harms.

Again, Business Plaintiffs allege only that they have incurred costs “in the form of

a business credit report and devotion of resources to monitoring [their] financial


6 Although Collins is “physical precedent only” because one judge dissented, it
“may be cited as persuasive authority” where—as here—its reasoning is sound,
and firmly anchored in other binding Georgia cases. Marshall v. McIntosh Cty.,
759 S.E.2d 269, 273 (Ga. Ct. App. 2014).
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accounts” in response to a supposed “substantial risk of harm from the breach.”

See Compl. ¶¶ 12-21. In Collins, the Georgia Court of Appeals analyzed this exact

situation and held that “prophylactic measures such as credit monitoring and

identity theft protection and their associated costs, which are designed to ward off

exposure to future, speculative harm, are insufficient to state a cognizable claim

under Georgia law.” 2018 WL 3134877, at *4; see also Parker, 230 F. App’x at

883 (applying Georgia law and affirming dismissal of claim for medical

monitoring costs incurred to mitigate the risk of future harm given “the absence of

a current physical injury”) (emphasis added). Indeed, “[t]he majority of courts in

data breach cases have held that the cost to mitigate the risk of future harm does

not constitute an injury . . . unless the future harm being mitigated against is itself

imminent.” Provost v. Aptos, Inc., No. 1:17-CV-02120-ELR, 2018 WL 1465766,

at *5 (N.D. Ga. Mar. 12, 2018) (quoting Torres v. Wendy’s Co., 195 F. Supp. 3d

1278, 1284 (M.D. Fla. 2016)); see In re SuperValu, Inc., 870 F.3d at 771 (holding

that costs allegedly incurred to mitigate a speculative risk of harm are not

cognizable injuries); Beck, 848 F.3d at 276 (same); Randolph v. ING Life Ins. &

Annuity Co., 973 A.2d 702, 708 n.9 (D.C. 2009) (same). The Business Plaintiffs

have not alleged any future harm that is “imminent”; accordingly, the costs the



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Business Plaintiffs allege to have incurred to mitigate speculative future harms

cannot support their negligence claim.

      C.    The Business Plaintiffs Fail To Plead Proximate Causation.
      1.    The Damages The Business Plaintiffs Allege Are Too Remote To
            Support Their Negligence Claim.

      Even if the Business Plaintiffs could adequately allege that Equifax breached

a duty owed to them and that they suffered a compensable harm (which they

cannot), they have not pled allegations to show that Equifax’s purported breach of

duty was the proximate—i.e., legally sufficient—cause of that harm. That is

because they concede that all of their alleged harms are remote “consequences

flowing from the unauthorized dissemination of their owner’s Personal

Information”—not their own business information. Compl. ¶ 5 (emphasis added).

      The Business Plaintiffs’ alleged harms are remote, downstream harms

entirely derivative of the alleged harms to the Business Plaintiffs’ owners—who

are within the Consumer Plaintiff class—and the relief sought by the Business

Plaintiffs is duplicative of that sought by the Consumer Plaintiffs. Under these

circumstances, “the causal connection between [Equifax’s alleged] conduct and the

injury is too remote for the law to countenance a recovery.” Dowdell v. Wilhelm,

699 S.E.2d 30, 32 (Ga. Ct. App. 2010) (quotation marks omitted); see Laborers

Local 17 Health & Benefit Fund v. Philip Morris, Inc., 191 F.3d 229, 236 (2d Cir.

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1999), as amended (Aug. 18, 1999) (“[W]here a plaintiff complains of injuries that

are wholly derivative of harm to a third party, [a] plaintiff’s injuries are generally

deemed indirect and as a consequence too remote, as a matter of law, to support

recovery.”). “[I]n plain and undisputed cases” such as this, “the question [of

proximate cause] should be answered by the court as a matter of law.” Walker v.

CSX Transp. Inc., 650 F.3d 1392, 1399 (11th Cir. 2011); see W. Stone & Metal

Corp. v. Jones, 348 S.E.2d 478, 480 (Ga. Ct. App. 1986) (deciding proximate

cause as a matter of law “where the jury can draw but one reasonable conclusion”).

      Georgia courts have long held that proximate cause serves to prevent

negligence liability from extending indefinitely, beyond the directly injured party,

to endless categories of downstream plaintiffs who are only indirectly impacted (if

at all) by the defendant’s conduct. For example, in Byrd v. English, 43 S.E.2d 419

(Ga. 1903), a business sued a construction company for negligently damaging city-

owned-and-operated power lines that supplied power to it. The business’s power

was shut off as a result of the incident, and the business alleged that the

construction company was liable for damages that the business incurred in the

form of lost business and remediation costs. While there was no dispute that the

construction company’s actions were the “but for” cause of the plaintiff’s damages,

the Georgia Supreme Court nonetheless affirmed dismissal of the complaint:

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      If the plaintiff can recover of these defendants upon this cause of
      action, then a customer of his, who was injured by the delay
      occasioned by the stopping of his work, could also recover from them;
      and one who had been damaged through his delay could in turn hold
      them liable; and so on without limit to the number of persons who
      might recover on account of the injury done to the property of the
      company owning the conduits. To state such a proposition is to
      demonstrate its absurdity.

Id. at 420. Georgia courts have routinely applied this limiting principle to reject

overbroad negligence theories and avoid absurd results. See Union Camp Corp. v.

S. Bulk Indus., Inc., 386 S.E.2d 866, 867 (Ga. Ct. App. 1989), aff’d, 388 S.E.2d

524 (Ga. 1990) (holding that plaintiff failed to state a claim when it alleged that

defendant negligently damaged the property of a third party and that, consequently,

the third party was unable to fulfill its contractual obligations to plaintiff); Willis v.

Georgia N. Ry. Co., 314 S.E.2d 919, 919-20 (Ga. Ct. App. 1984) (employees of

packing plant did not have claim against railroad that negligently harmed the plant

causing an eight day shut down and resultant loss of wages); see also Remax the

Mountain Company v. Tabsum, Inc., 634 S.E.2d 77, 79 (Ga. Ct. App. 2006)

(affirming the dismissal of various business owners’ claims because “a plaintiff

cannot recover economic losses associated with injury to the person or damage to

the property of another”) (quotation marks omitted).

      Here, the derivative and highly attenuated nature of the Business Plaintiffs’

alleged harms cannot satisfy the element of proximate causation under Georgia
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law. If the Business Plaintiffs were permitted to recover for alleged “consequences

flowing from the unauthorized dissemination of their owner’s Personal

Information” (Compl. ¶ 5), then negligence liability for the data breach would

extend “without limit” to an endless number of downstream plaintiffs, resulting in

a legal “absurdity.” Byrd, 43 S.E.2d at 420 . For example, any plaintiff who could

allege some degree of reliance on the creditworthiness of a Consumer Plaintiff

whose PII was impacted by the breach—e.g., any plaintiff (such as plaintiff’s

children) who could allege that he or she relies on a Consumer Plaintiff as a

cosigner on a student loan, apartment lease, car loan, or credit card—could

potentially recover against Equifax. See W. PAGE KEETON, PROSSER AND

KEETON ON LAW OF TORTS § 41, p. 264 (5th ed. 1984) (“[T]he consequences

of an act go forward to eternity . . . [b]ut any attempt to impose responsibility upon

such a basis would result in infinite liability for all wrongful acts . . . .”).

Accordingly, any “causal connection” between the data breach and the Business

Plaintiffs’ purported damages is “too remote for the law to countenance a

recovery.” Dowdell, 699 S.E.2d at 32.7




7 This is “another way of saying . . . that [Equifax] was under no duty to protect
[the Business Plaintiffs] from the injury,” Walker v. CSX Transportation Inc., 650
F.3d at 1399 (quotation marks omitted), as explained in Section II.A above.
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      The claims pending in the Consumer Complaint highlight why this

limitation of proximate causation must apply. The Consumer Plaintiffs (which

include the Business Plaintiffs’ owners) already seek to recover the damages

sought in the Business Plaintiffs’ Complaint. See generally Consumer Compl. ¶¶

13-108 (alleging damages such as costs associated with monitoring their accounts

for fraudulent activity and the alleged risk of future harm in the form of fraudulent

activity). Allowing the Business Plaintiffs’ negligence claim to proceed on this

remote, domino theory of causation thus would create a risk of impermissible

double recovery. See Holmes v. Sec. Inv’r Prot. Corp., 503 U.S. 258, 268-70

(1992) (“[R]ecognizing claims of the indirectly injured would force courts to adopt

complicated rules apportioning damages among plaintiffs removed at different

levels of injury from the [unlawful conduct], to obviate the risk of multiple

recoveries.”) (applying common law proximate cause analysis). For this reason,

Georgia law bars indirectly harmed plaintiffs from recovering in tort.

      2.     The Criminal Conduct Of The Third-Party Cyber Hackers Was An
             Intervening Cause.

      The Business Plaintiffs have not alleged that Equifax is itself directly

responsible for any injury. Instead, each of the injuries about which the Business

Plaintiffs complain was proximately caused, if at all, by a third-party’s criminal

acts—breaking into Equifax’s servers and illegally stealing information stored on
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them. See 18 U.S.C. § 1030(a)(5)(C) (making it a federal crime to “intentionally

access[] a protected computer without authorization). Unforeseeable criminal acts

of third-parties “insulat[e] and exclud[e] the negligence of the defendant” from

liability. Goldstein, Garber & Salama, LLC v. J.B., 797 S.E.2d 87, 89 (Ga. 2017).

And criminal acts are foreseeable only if they are the “probable or natural

consequences” of “the original wrongful act.” Id.; see also id. at 90–91 (mere

“aware[ness]” that an event “can occur” does not create liability).

      Thus, the proximate cause of the Business Plaintiffs’ alleged injuries was the

criminal acts of the cyber hackers, not any breach of duty on the part of Equifax.

See Bonard v. Lowe’s Home Centers, Inc., 479 S.E.2d 784, 787 (Ga. Ct. App.

1996) (where “injury was caused by the intervening efficient act of a third person,

the defendant cannot be held responsible for having produced the injury, and the

question is then one of law for determination by the court”); Andrews v. Kinsel, 40

S.E. 300, 301 (Ga. 1901) (finding landlord was not liable to store lessee for leaving

windows open where lessee’s store was burglarized because “there intervened as a

direct cause between the negligence of the defendant and the damage sustained by

[plaintiffs] the independent criminal act of a responsible human agency”).




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      D.    Georgia’s Economic Loss Rule Bars The Business Plaintiffs’
            Negligence Claim.
      Finally, the Business Plaintiffs’ negligence claim is independently barred by

Georgia’s economic loss rule. That rule “‘generally provides that . . . a plaintiff

can recover in tort only those economic losses resulting from injury to his person

or damage to his property.’” Helpling v. Rheem Mfg. Co., 1:15-CV-2247-WSD,

2016 WL 1222264, at *16 (N.D. Ga. Mar. 23, 2016) (quoting Gen. Elec. Co. v.

Lowe’s Home Centers, Inc., 608 S.E.2d 636, 637 (Ga. 2005)).

      Here, the Business Plaintiffs do not allege injury to their person or property.

At most, they allege purely economic losses stemming from the unauthorized

access of third-parties’ PII.    These are exactly the type of losses that are

unrecoverable under the economic loss rule in Georgia. See, e.g., Remax the

Mountain Company, 634 S.E.2d at 79 (affirming dismissal of business owners’

claims against defendant whose negligence caused a closure of the road to their

business locations because “a plaintiff cannot recover economic losses associated

with injury to the person or damage to the property of another”); City of Atlanta v.

Benator, 714 S.E.2d 109, 117 (Ga. Ct. App. 2011) (affirming dismissal of

negligence claims against city contractor because plaintiffs sought only economic

losses and not any “damages due to injury to their persons or to their real or

personal property”).
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        Accordingly, the Business Plaintiffs’ negligence claim also fails because it is

barred by Georgia’s economic loss rule.

III.    THE BUSINESS PLAINTIFFS’ NEGLIGENCE PER SE CLAIM
        FAILS.
        To establish a negligence per se claim under Georgia law, a plaintiff must

establish that a law was violated; the “injured person falls within the class of

persons [the law] was intended to protect”; “the harm complained of was the harm

the statute was intended to guard against”; and “a causal connection between the

negligence per se and the injury.” Norman v. Jones Lang Lasalle Americas, Inc.,

627 S.E.2d 382, 388 (Ga. Ct. App. 2006). Georgia law limits negligence per se to

statutes that “provide for certain duties” or that call for “the performance of . . .

specific acts.” Jenkins, 744 S.E.2d at 688 (emphasis added). An allegation that a

defendant violated a statute whose duty is “too indefinite” cannot support a claim

for negligence per se. Brock v. Avery, 110 S.E.2d 122, 126 (Ga. Ct. App. 1959).

Instead, any duty must be “imposed expressly by the statute at issue with

specificity.” Bellsouth Telecomms., LLC v. Cobb County, 802 S.E.2d 686, 698

(Ga. Ct. App. 2017) (Dillard, P.J., concurring). The duty must be also based on

violation of a rule that has “the force of law.” Norman, 627 S.E.2d at 388. Here,

the Business Plaintiffs fail to allege any plausible facts supporting the elements of

a negligence per se claim.
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      A.     The Business Plaintiffs Cannot Rely On The FTC Act § 5 And
             “Similar State Statutes.”
      In an attempt to plead the first two elements of a negligence per se claim, the

Business Plaintiffs rely on Section 5 of the Federal Trade Commission (“FTC”)

Act and “similar state statutes,” without identifying those state statutes.8 Compl. ¶

242. But the Business Plaintiffs have not sufficiently pled that the FTC Act or

“similar statute statutes” can provide the basis for a negligence per se claim. The

FTC Act does not impose any specific duty to safeguard personal information. See

generally 15 U.S.C. § 45. It only proscribes “unfair or deceptive acts or practices

in or affecting commerce.” Id. That prohibition is not specific enough to state a

claim for negligence per se. See Jenkins, 744 S.E.2d at 688 (holding that the

Gramm-Leach-Bliley Act did not establish a legal duty upon which a negligence

claim could be based because it “does not provide for certain duties or the

performance of or refraining from any specific acts on the part of financial

institutions”) (emphasis added); Brock, 110 S.E.2d at 126 (finding that violation of

a section of the Georgia Code could not constitute negligence per se because the

Code was “too indefinite for enforcement”).


8 To the extent Plaintiffs intend to rely on their references to the Fair Credit
Reporting Act (the “FCRA”) to establish a duty, for the reasons set forth in
Equifax’s Motion to Dismiss the Consolidated Consumer Class Action Complaint,
that argument too would be misguided. See Dkt. No. 425 at 12-16, 48.
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      Moreover, Section 5 itself does not impose substantive requirements unless

they are established elsewhere in the law. LabMD v. Fed. Trade Comm’n, — F.3d

—, 2018 WL 3056794, at *7 (11th Cir. June 6, 2018). To be an “unfair act or

practice” under Section 5, an act must violate “clear and well-established policies

that are expressed in the Constitution, statutes, or the common law.” Id. (quotation

marks omitted). And the only possible “source of [a] standard of unfairness . . .

holding that . . . [a] failure to . . . maintain a reasonably designed data-security

program constitute[s] an unfair act or practice . . . is the common law.” Id. The

common law, however, imposes no such duty. McConnell III, 814 S.E.2d at 797-

98. This Court therefore should not read such a duty into Section 5 of the FTC

Act. See LabMD, 2018 WL 3056794, at *7. 9

      Also telling is that there is no private cause of action for violation of the

FTC Act. Fulton v. Hecht, 580 F.2d 1243, 1248 n.2 (5th Cir. 1978). The Act

provides that only the FTC may sue for “unfair or deceptive acts or practices in or

affecting commerce.” See 15 U.S.C. § 45(a) & (b). And the “express provision of

one method of enforcing a substantive rule suggests that Congress intended to

9 Equifax is aware that this Court has ruled that a negligence per se claim relying
on Section 5 of the FTC Act can proceed. Arby’s, 2018 WL 2128441, at *7-8; In
re The Home Depot Consumer Data Breach Litig., No. 1:14-cv-2583-TWT, 2016
WL 2897520, at *4 (N.D. Ga. May 18, 2016). Equifax respectfully suggests that
both this case’s distinct factual circumstances and the Eleventh Circuit’s
intervening LabMD case provide reason not to follow those rulings here.
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preclude others.” Alexander v. Sandoval, 532 U.S. 275, 290 (2001). Permitting a

private plaintiff to use the FTC Act to sue for negligence per se would, therefore,

undermine Congress’s express intent that private plaintiffs not be permitted to sue

to enforce the Act.

      Here, the Business Plaintiffs point to no FTC regulation that requires

safeguarding PII. Instead, they merely claim that the FTC has “pursued” numerous

“enforcement actions” for “failure to employ reasonable data security measures.”

Compl. ¶ 246. They also point to unidentified “FTC publications and data security

breach orders.”       Id. ¶ 230.   None of these various unidentified orders and

publications can support a negligence per se claim because the Business Plaintiffs

have identified none that “ha[s] the force of law.” Norman, 627 S.E.2d at 388.

      Similarly, although the Business Plaintiffs allege negligence per se under

“similar state statutes,” they do not identify any such statutes. See Compl. ¶¶ 243-

46. That claim too is insufficiently specific to state a negligence per se claim

under Georgia law.       See Spooner, 568 S.E.2d at 113 (affirming dismissal of

negligence per se claim where plaintiffs “cite[d] no specific statute, rule, or

regulation that imposes a duty”); Quinn, 532 S.E.2d at 134 (same).




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       B.    The Business Plaintiffs Fail To Plead Other Elements To Support
             Their Negligence Per Se Claim.
       Under Georgia law, negligence per se “is not liability per se”—a “plaintiff

must still prove proximate cause and actual damage in order to recover.” Hite v.

Anderson, 643 S.E.2d 550, 552 (Ga. Ct. App. 2007). Here, the Business Plaintiffs

allege that Equifax’s purported negligence per se caused the same injuries as its

alleged negligence. Compl. ¶ 247. But as discussed above, the Business Plaintiffs

have failed to allege sufficient facts demonstrating that they have suffered any

cognizable injury proximately caused by Equifax. See supra Sections II.C. As a

result, their negligence per se claim should also be dismissed.

IV.    THE COURT SHOULD DISMISS THE BUSINESS PLAINTIFFS’
       GEORGIA FAIR BUSINESS PRACTICES ACT CLAIM.
       This Court should dismiss the Business Plaintiffs’ Georgia Fair Business

Practices Act claim (Compl. ¶¶ 248-60) (Count 3) for four reasons.

       A.    McConnell III Confirms That The Georgia Fair Business
             Practices Act Does Not Require Safeguarding PII.
       If the Georgia Fair Business Practices Act (“GFBPA”) required a company

to safeguard PII, McConnell III would have been decided differently. The plaintiff

in McConnell III argued that the GFBPA imposed a duty to safeguard PII. See

McConnell III, 814 S.E.2d at 796-98. The GFBPA was thus before the court in

McConnell III where it held that the plaintiff’s complaint was “premised on a duty

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of care to safeguard personal information that has no source in Georgia statutory

law,” and that “[Georgia’s] legislature has so far not acted to establish a standard

of conduct intended to protect the security of personal information.” Id. at 799. If

the general unfair practices provision of the GFBPA could be read to require

safeguarding PII, the McConnell III court would have said as much—and would

have reached a different result. This alone is reason enough to dismiss Count 3.

      B.       The Business Plaintiffs Have Not Pled Reliance.
      Stating a claim under the GFBPA also requires that the plaintiff

“demonstrate that he was injured as the result of . . . reliance upon the alleged

misrepresentation.” Tiismann v. Linda Martin Homes Corp., 637 S.E.2d 14, 16–17

(Ga. 2006). The Business Plaintiffs here have failed to—and cannot—allege facts

sufficient to show reliance.

      The Business Plaintiffs allege that Equifax collects information about

consumers “without the[ir] knowledge or consent” and that consumers cannot “opt

out” of Equifax’s data collection. Compl. ¶ 231. They fail to allege any facts

showing that any of them, or even their individual owners, gave Equifax their

information.     They certainly cannot establish that they gave Equifax any




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information in reliance on any representations Equifax allegedly made. 10 Even if

they could, the Business Plaintiffs allege no facts showing that any information

they provided to Equifax in reliance on some unidentified misrepresentation was

compromised in the data breach. The GFBPA claims should be dismissed because

the Business Plaintiffs cannot plead the critical element of reliance.

      C.     No Business Plaintiff Has Alleged Damages Caused By Any
             Misrepresentation.
      Furthermore, to fall within the ambit of the GFBPA, a plaintiff must be a

“person who suffers injury or damages as a result of violation” of the act.

O.C.G.A. § 10-1-399(a). The Business Plaintiffs have failed to allege cognizable

injuries. See supra Section II.B. They have also failed to allege that any act or

omission of Equifax proximately caused those harms. See supra Section II.C.

Because no Business Plaintiff has alleged “injury or damages as a result” of any

violation by Equifax, Count 3 should be dismissed.

      D.     The GFBPA Forbids Class Actions.
      Finally, the GFBPA forbids class actions. It provides that a “person who


10 The Business Plaintiffs have not even pleaded that they, or their individual
owners, read or relied on any representation made by Equifax. See, e.g.,
Willingham, 2013 WL 440702, at *20 (“[B]road statements of reliance on
defendant’s website and privacy statement do not give rise to contract claims
where, as here, Plaintiffs do not allege that they read or relied upon those
statements.”).
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suffers injury or damages . . . may bring an action individually, but not in a

representative capacity.”     O.C.G.A. § 10-1-399(a); see also In re New Motor

Vehicles Canadian Exp. Antitrust Litig., 241 F.R.D. 77, 84 (D. Me. 2007) (finding

the GFBPA class action restriction substantive, not procedural, and rejecting class

certification), vacated on other grounds, 522 F.3d 6 (1st Cir. 2008). Equifax

therefore contends that this Court should dismiss the Business Plaintiffs’ GFBPA

claim as to any putative class. 11

V.    THE BUSINESS PLAINTIFFS’ UNJUST ENRICHMENT CLAIM
      SHOULD BE DISMISSED.
      To state a claim for unjust enrichment—an equitable doctrine of recovery

under Georgia law—a plaintiff must allege that (1) “the plaintiff provide[d]

something of value to the defendant” and (2) did so “with the expectation that the

defendant would be responsible for the cost thereof.” Sitterli v. Csachi, 811 S.E.2d

454, 457 (Ga. Ct. App. 2018) (quotation marks omitted). Put another way,

“when one renders service or transfers property which is valuable to another . . .


11 Equifax acknowledges that this Court is bound by Eleventh Circuit precedent
holding that a similar provision in Alabama’s deceptive trade practices law is
procedural, not substantive, and thus that Rule 23 governs. See Lisk v. Lumber
One Wood Preserving, LLC, 792 F.3d 1331, 1335 (11th Cir. 2015). At a
minimum, however, Lisk presents a conflict in authority that either the en banc
Eleventh Circuit or the Supreme Court could resolve in Equifax’s favor. Compare
id. with Fejzulai v. Sam’s West, Inc., 205 F. Supp. 3d 723, 726–29 (D.S.C. 2016)
(disagreeing with Lisk); In re New Motor Vehicles, 241 F.R.D. at 84.
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promise is implied to pay the reasonable value thereof.” O.C.G.A. § 9-2-7.

      First, the Business Plaintiffs have failed to adequately allege that they have

provided something of value to Equifax. The alleged “something of value” is the

personal information compromised in the data breach. Compl. ¶ 262. But that

personal information is not the Business Plaintiffs’—it is the business owners’. Id.

¶¶ 12-21. And the Complaint does not even allege that the individual owners

provided their PII to Equifax. In other words, there was no “direct conveyance of a

benefit” from the Business Plaintiffs to Equifax, and absent such “direct

commercial relationship” between the parties, the unjust enrichment claim fails.

Knox v. Samsung Elec. Am., Inc., No. 08-4308, 2009 WL 1810728, at *4 (D.N.J.

June 25, 2009) (applying Georgia law and citing Scott v. Mamari Corp., 530

S.E.2d 208 (Ga. Ct. App. 2000)); see also Brenner v. Future Graphics, LLC, 258

F.R.D. 561, 576 (N.D. Ga. 2007) (granting motion for judgment as a matter of law

where there was “no evidence to establish that any of [the] named plaintiffs

conferred a benefit directly to” defendant).

      Even if the Business Plaintiffs could base their unjust enrichment claim on

the individual owners’ personal information, their claim suffers another defect:

they have failed to adequately allege that the individual owners—as opposed to

third-parties—conferred anything of value on Equifax.        In fact, the Business

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Plaintiffs allege the opposite: that “Equifax undertakes its collection of highly

sensitive information generally without the knowledge or consent of consumers . . .

.” (Compl. ¶ 231), and that the personal information “was conferred on Equifax in

most cases by third-parties” (id. ¶ 262). In the Unjust Enrichment count, the

Business Plaintiffs include the stray allegation that “in some instances” the

personal information was conferred “directly by Plaintiffs and Class members

themselves” (id. ¶ 262), but this conclusory allegation is devoid of any factual

support whatsoever. In short, because the Business Plaintiffs neither “render[ed]

service” nor “transfer[red] property” to Equifax, O.C.G.A. § 9-2-7, they may not

recover for unjust enrichment. Sitterli, 811 S.E.2d at 457.

      Second, the Business Plaintiffs fail to allege that they reasonably expected

Equifax to “be responsible for the cost” of any PII. The closest they come is their

allegation that “the benefit conferred upon . . . Equifax was not conferred . . .

gratuitously.” Compl. ¶ 269. But they do not allege that they reasonably expected

to be reimbursed for the personal information (which was not even theirs), that

anyone expected reimbursement from Equifax, or that any expected reimbursement

would be for the cost of the PII as opposed to some other measure of value.

Accordingly, the Business Plaintiffs “ha[ve] no right to an equitable recovery” for

unjust enrichment. See Sitterli, 811 S.E.2d at 457 (quotation marks omitted).

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       Finally, the Business Plaintiffs seek, as damages, “the profits Equifax is

receiving from the use and sale of” the PII. But the only damages available for

unjust enrichment amount to the “reasonable value” of the “service” or

“property” conferred. O.C.G.A. § 9-2-7. The Business Plaintiffs cannot maintain

an action for some other measure of damages, and thus their unjust enrichment

claim should be dismissed.

VI.    THE BUSINESS PLAINTIFFS’ O.C.G.A. § 13-6-11 CLAIM SHOULD
       BE DISMISSED.
       The Business Plaintiffs may only recover expenses and fees for “stubborn

litigiousness or unnecessary trouble” if “there exists no bona fide controversy or

dispute regarding liability for the underlying cause of action.” David G. Brown,

P.E., Inc. v. Kent, 561 S.E.2d 89, 90-91 (Ga. 2002). This motion demonstrates

that—at a minimum—there is a “bona fide controversy or dispute” between the

parties. Further, the Business Plaintiffs do not allege any facts suggesting bad faith

on the part of Equifax. The O.C.G.A. § 13-6-11 claim should be dismissed.

                                   CONCLUSION
       For these reasons, the Court should dismiss the Complaint for lack of Article

III jurisdiction, or, alternatively, the Court should dismiss the Complaint with

prejudice for failure to state a claim.



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                    CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1D, the undersigned certifies that the foregoing

complies with the font and point selections permitted by Local Rule 5.1B. This

brief was prepared on a computer using the Times New Roman font (14 point).

DATED: July 30, 2018

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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 30, 2018, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which will send

notice of electronic filing to all counsel of record.

                                                /s/ David L. Balser
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